


  — Application by the appellant for a writ of error coram nobis to vacate, on the ground of ineffective assistance of appellate counsel, a decision and order of this Court dated December 4, 2007 (People v Hernandez, 46 AD3d 574 [2007]), determining an appeal from a judgment of the County Court, Orange County, rendered June 29, 2005.
 

  Ordered that the application is denied.
 

  The appellant has failed to establish that he was denied the effective assistance of appellate counsel (see Jones v Barnes, 463 US 745 [1983]; People v Stultz, 2 NY3d 277 [2004]).
 

  Dillon, J.P., Hall, Sgroi and Iannacci, JJ., concur.
 
